Case 3:23-cv-00711-KM Document 11-1 Filed 05/31/23 Page 1of5~

 
Case 3:23-cv-00711-KM Document 11-1 Filed 05/31/23 Page 2 of 5

JOAN HOGGARTH
LUZERNE COUNTY CLERK OF RECORDS
DIVISION OF JUDICIAL SERVICES AND RECORDS

Recorder of Deeds Division
Luzerne County Courthouse
200 N. River Street
Wilkes-Barre, PA 18711
(570) 825-1641 .

 

*RETURN DOCUMENT TO:
DOUGLAS BRUCE

a PO BOX 26018

COLORADO SPRINGS, CO 80936

Instrument Number - 201830674 PHONE: (7190 550-0010
Recorded On 6/11/2018 At 11:03:32 AM
* Instrument Type - DEED EXEMPT
Invoice Number ~ 956226 User ID: MJH *Total Pages - 4
* Grantor - COLLINS, HELEN P
* Grantee - BRUCE, DOUGLAS
* Customer - DOUGLAS BRUCE

 
 
 

 

 
  
  
  
 
   

* FEES

PA WRIT TAX
JCS/ACCESS TO JUSTICE
COUNTY RECORDING FEE
COUNTY ARCHIVES FER
RECORDER'S ARCHIVES F
HOUSING TRUST FUND
TOTAL PAID

at this document is
der of Deeds Office
ty, Pennsylvania

Soan Haygach
Joan Hoggarth
Clerk of Records
Recorder of Deeds Division

 

 

 

PARCEL IDENTIFICATION NUMBER
D11SE3-11-11-T
Total Property Identification Numbers: 1

_ THIS IS A CERTIFICATION PAGE

Do Not Detach

THIS PAGE IS NOW PART OF THIS LEGAL DOCUMENT

* - Information denoted by an asterisk may change during the verification process and may not be reflected on this page.

 

INSTRUMENT NUMBER - 201830674 BOOK: 3018 PAGE: 104242
é

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Rew db
° ’

 

 

QUITCLAIM DEED

THIS DEED isdated MAY 16 20° $B, and is made
between H ELEN, Co Lory ‘4

SPR Ws
(whether one, or more than one), the “Grantor,” of the * € my pe ibis fikdo

County of FL Paso and State of Co LORAPO
Dovélas BRucé

(whether one, or more than one), the “Grantee,” whose legal address is
Po. Bo% Abois, contro SfKinés Co FORE
ofthe ¢ (Tar Cetera setings of # c ? su and State of COLOR APO

WITNESS, that the Grantor, for and in consideration of the sum of - No

 

DOLLARS, ($ )
the receipt and sufficiency of which is hereby acknowledged, does hereby remise, release, sell and QUITCLAIM unto the
Grantee and the Grantee's heirs and assigns, forever, all the right, tile, interest, claim and demand which the Grantor has in

and to the real property, together with any improvements thereon, located in the CtTy be PIT stay County of
and State of Geterade, described as follows:

PIN DN SE B-M-/I/ PITTS Ten CHT,
Co urd OFLU ZERNE ,; Frere OF PEWNEYLUANIA

OF AP
MISE sinc __// tor_//

 

 

  
 
   

 

 

 

  
 
 
  

 

 

NTIFICATION NUMBER

 

 

 

shen. DIVISION.
re DATS 1
MAPPING CLERK
eT OF
also known by street address as: ORS Nr Main synétT t f (TT$ tty € 7 bvreane
and assessor's schedule or parcel number: dl SE B-s- /

TO HAVE AND TO HOLD the same, together Ee A singular the appurtenances coli viteges thereunto belonging,
or in anywise thereunto appertaining, and all the estate, right, tille, interest and claim whatsoever of the Grantor, either in law
or equity, to thé only proper use, benefit and behoof of the Grantee, and the Grantee's heirs and assigns, forever.

IN WITNESS WHEREOF, the Grantor has executed this deed on the date set forth above.

BoP Eby

 

REC Book SOLS Pose 104345

 

 

 

 

 

 

  
     

 

- STATE OF COLORADO
58
County of EL Pre 60
The foregoing instrument was acknowledged before me this jeHe day of M , 207 g
by LEU P Conlin d
Witness my hand and official seal.
_ My commission expires: OAS DOLD
wg YVONNE M, STEMPLE
“Insert "City and” where applicable. oialy Public / 4 NOTARY PUBLIC
. STATE OF COLORAYO ,

 

1D 20084002776
Woe PIRES GANUARY 25, 2020

 

 

 

Name and Address of Person Creating Newly GreatedLegal Description (§ 38-35-106.5,

 

 

No. 933.’ Rev, 1-06. QUITCLAIM DEED . &®
Bradford Publishing, 1743 Wazee St, Denver, CO 80202 — (303) 292-2500 — www.bradfordpublishing.com — 1-06

 
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REV-183 EX (2-15)

W pennsylvania
DEPARTMENT OF REVENUE

Bureau of Individual Taxes
PO BOX 280603
Harrisburg, PA 17128-0603

 

 

 

 

 

REALTY TRANSFER TAX |sssmn
| STATEMENT OF VALUE [Feknunter 078
201830674 Page Number 104242
See reverse for instructions. Date Recorded 6/44 [48

 

 

Complete each section and file in duplicate with Recorder of Deeds when (1) the full value/consideration is not set forth in the deed, (2)
the deed is without consideration or by gift, or (3) a tax exemption is claimed. If more space is needed, please attach additional sheets.
- A Statement of Value (SOV) is not required if the transfer is wholly exempt from tax based on family relationship or public utility ease-

ment. However, it is recommended that a SOV accompany all documents filed for recording.

 

A. CORRESPONDENT ~ All inquiries may be directed to the following person:

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

Name Telephone Number:
Dou &As TRuce TUN. FS 0-04
Mailing Address City State | ZIP Code
»- Bo “160(6 Catongho Z¢ RI w Us CO | £2F3¢
B. TRANSFER DATA
Date of Acceptance of Document a4 ny / tY/ 4 Dig
Grantor(s)/Lessor(s) Telephone Number: Grantee(s)/Lessee(s) Telephone Number:
Hérew FCoccins DOUGH Bitvck Ui -sSu-taa
Mailing Address Mailing Address
63U LAKE WO Cindlé LU TS 2601%
City State ZIP Code City c State ZIP Code
LOLv RAO Searls Co|8dto | CérwiApd $V, Co |80796
C. REAL ESTATE LOCATION
Street Address ’
58S Ne MAW ST.
County School District Number

Cy tee
D. VALUATION DATA

Was transaction part of an assiqg
1. Actual Cash Consideration

 

    

ise ~-t{-]/

 

 

 

4, County Assessed Value

13,500

 

   

3. Total Consideration

= 0

6. Computed Value

= 7,295

 

E. EXEMPTION DATA - Refer

la. Amount of Exemption Claimed

$ 734 ) 5 00
2. Check Appropriate Box Bel
C1 Will or intestate succession.

  
 

WM %
ow for Exemption Claimed.

ctions for exemption status.
Percentage of Grantor's Interest in Real Estate

 

Ic, Percentage of Grantor's Interest Conveyed

120 _%

 

hoo off

(Name of Decedent)
[J Transfer to a trust. (Attach complete copy of trust agreement identifying all beneficiaries.)

Be Transfer from a trust. Date of transfer into the trust. Nov. acid
If trust was amended attach a copy of original and amended trust.

(Estate File Number)

Transfer between principal and agent/straw party. (Attach complete copy of agency/straw party agreement.)

Transfers to the commonwealth, the U.S, and instrumentalities by gift, dedication, condemnation or in feu of condemna-
tion. (If condemnation or in lieu of condemnation, attach copy of resolution.)

Transfer from mortgagor to a holder of a mortgage in default, (Attach copy of mortgage and note/assignment.)
Corrective or confirmatory deed. (Attach complete copy of the deed to be corrected or confirmed. }
Statutory corporate consolidation, merger or division. (Attach copy of articles.)

4 Other (Please explain exemption claimed.) SE AYTACHEY AGRE Ey tp

 

Under penalties of law, I declare that I have examined this statement,

to the best of my knowledge and belief, it is true, correct and complete

Signature of Correspondent or Mo. / " Sauce

FAILURE TO COMPLETE THIS FORM P

IN THE RECORDER’S REFUSAL TO RECORD THE DEED.

including accompanying information, and

Date

Jue 4 Jolgs

 

ROPERLY OR ATTACH REQUESTED DOCUMENTATION MAY RESULT

—
Case 3:23-cv-00711-KM Document 11-1 Filed 05/31/23 Page 5of5

AGREEMENT

This agreement between business partners Helen Collins and
Douglas Bruce is signed by them to reflect that bare nominal legal
title will initially be recorded in the name of Collins because Bruce
may be unavailable to handle certain transactions. This agreement
applies to all out-of-state properties that have been or will be bought
by Bruce with Bruce’s money. Bruce is the equitable owner of these
properties and a silent partner, and has the right to receive a transfer
deed to each of them from Collins without charge upon request.

One such property is 385 N. Main in Pittston PA, an empty two-

  
 

 

provided by seller, Collins agrees t
income to Bruce. Collins wilkals
papers filed regardi this rope ny ; other property under
this agreement curt re, A transfer by Collins to
another party consent of Bruce, and is in the
nature of a powe} iey for that property. Collins is therefore
holding bare legal rust for Bruce as a fiduciary duty.

    
  

 
 

Dated: October 30, 2012

Helen Collins Douglas Bruce
